         Case 8:20-cv-01373-VMC-CPT Document 3 Filed 06/16/20 Page 1 of 6 PageID 544

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                               for the
                                                     Middle District
                                                 __________ District of
                                                                     of Florida
                                                                        __________

           Ohio Security Insaurance Company                       )
                                                                  )
                                                                  )
                                                                  )
                            Plaintiff(s)                          )
                                                                  )
                                v.                                        Civil Action No.FY
                                                                  )
              Clearcomm of Tampa Bay, Inc.                        )
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              <RXVHI6LKZHLO
                                                                  )
                                                                  )
                                                                  )
                           Defendant(s)                           )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Clearcomm of Tampa Bay, Inc.
                                       Registered Agent Yousef Sihweil
                                       'RUFKHVWHU%OYG
                                       +DQRYHU0'




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Michael R. Morris
                                       Morris & Morris, P.A.
                                       '5RDG
                                       /R[DKDWFKHH)/




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                             CLERK OF COURT
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Date:
              June 16, 2020                                                                  MelanieBowman

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          Case 8:20-cv-01373-VMC-CPT Document 3 Filed 06/16/20 Page 2 of 6 PageID 545

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
         Case 8:20-cv-01373-VMC-CPT Document 3 Filed 06/16/20 Page 3 of 6 PageID 546

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                               for the
                                                     Middle District
                                                 __________ District of
                                                                     of Florida
                                                                        __________

           Ohio Security Insaurance Company                       )
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                            Plaintiff(s)                          )
                                                                  )
                                v.                                        Civil Action No.FY
                                                                  )
              Clearcomm of Tampa Bay, Inc.                        )
              &OHDUFRPP3HQQ,QF
              <RXVHI6LKZHLO
                                                                  )
                                                                  )
                                                                  )
                           Defendant(s)                           )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Clearcomm 3HQQ, Inc.
                                       Registered Agent Yousef Sihweil
                                       'RUFKHVWHU%OYG
                                       +DQRYHU0'




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Michael R. Morris
                                       Morris & Morris, P.A.
                                       '5RDG
                                       /R[DKDWFKHH)/




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



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              June 16, 2020                                                                 MelanieBowman
Date:
                                                                                       Signature
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          Case 8:20-cv-01373-VMC-CPT Document 3 Filed 06/16/20 Page 4 of 6 PageID 547

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.

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           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
         Case 8:20-cv-01373-VMC-CPT Document 3 Filed 06/16/20 Page 5 of 6 PageID 548

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                               for the
                                                     Middle District
                                                 __________ District of
                                                                     of Florida
                                                                        __________

           Ohio Security Insaurance Company                       )
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                            Plaintiff(s)                          )
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                                v.                                        Civil Action No.FY
                                                                  )
              Clearcomm of Tampa Bay, Inc.                        )
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              <RXVHI6LKZHLO
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                                                                  )
                                                                  )
                           Defendant(s)                           )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Clearcomm 3HQQ, Inc.
                                       Registered Agent Yousef Sihweil
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                                       +DQRYHU0'




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                                       /R[DKDWFKHH)/




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Date:
               June 16, 2020                                                                   MelanieBowman
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          Case 8:20-cv-01373-VMC-CPT Document 3 Filed 06/16/20 Page 6 of 6 PageID 549

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

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                                                                                                                                           .


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           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
